         Case 3:18-cv-00132-MMD-CLB Document 238 Filed 07/06/20 Page 1 of 4


     TERRANCE WALKER
 1
     212 Hillcrest Drive
 2   Reno, NV 89509
     Telephone: (775) 971-8679
 3   Email:        walkerbillion@gmail.com
 4
                         UNITED STATES DISTRICT COURT DISTRICT OF NEVADA
 5
     TERRANCE WALKER,                                          )   CASE NO. 3:18-cv-0132-MMD-CBC
 6                                                             )
                      Plaintiff,                               )   MOTION FOR FURTHER FINDINGS ON (1)
 7                                                             )   DEVERAS ALLEGATIONS AS DEFENDANTS’
             v.                                                )   LATE PAYMENTS TO OTHER WORKERS, (2)
 8                                                             )   GOOGLE’S SEARCH CAPABILITIES, (3) RULE
     INTELLI-HEART SERVICES INC, DANIEL                        )   62.1/60(b)(3) “EVIDENCE” REQUIREMENTS,
 9   WEISBERG, DANIEL GERMAIN, and                             )   (4) SANCTIONS ON DEFENDANTS STRAW
     VANESSA PARSONS                                           )   MAN ARGUMENTS, AND (5) RULES 60(b)(1),
10                                                             )   60(b)(3), 60(b)(6) AS ACTUALLY RAISED IN
                 Defendants.                                   )   WALKERS MOTION EFC 233
11   _____________________________________
12   Plaintiff(“Walker”) moves for Further FINDINGS on his Rule 62.1/60(b)(1,3,6)motion:
13   Walker filed a motion under, inter alia, Rules 62.1, (EFC 233, pg 9, ll. 4-5) due to
14   Defendants’ misconduct in withholding evidence on Anti-Slapp claim that the Complaint
15   (EFC 136, “SAC”) targeted Defendants’ “good faith communications” to the VA (EFC
16   206,pg 6-7). Defendants had told the Dept. of Veteran Affairs(“VA”) that all payments
17   they made to James Winters(“Winters”) (in 2017) were “timely” (SAC ¶ 73). Yet, Dexter
18   Devera, through two attorneys, states that Defendants Intelli-heart Services Inc (“IHS”),

19   had a long practice of paying multiple workers late since April 20171. In its Order (EFC

20   237), The Court made a number of ipse dixits (following Defendants2) : (1) Walker could

21   have googled Devera’s complaint on earlier (EFC 237, pg 3). However, Walker said he

22   Googled monthly for a year until June 5, 2020 –EFC 233-1) (2) That IHS ONLY paid

23   Devera late(EFC 237, pg 3) , But See(fn.1) (3) That Rule 62.1 requires ADMISSIBLE

24   evidence. (4) EFC 233 was based on Rule 60(b)(2). The Court failed to read EFC 233.

25

26
     1   (EFC 233-1 ¶ 17 ”IHS reneged on compensation agreements”; ¶ 18 “Parsons admitted the checks
     bounced”; -19; “Weisberg got angry for cashing his paycheck the day he received it”)
     2 Scott L. Garland, Avoiding Goliath’s Fate: Defeating a Pro Se Litigant, 24 LITIG. 45, 46 (1998)
27
     (commenting that in his experience as a clerk at a federal district court, “[m]any lawyers seem to think that
28   litigating against a pro se party gives the lawyer license to litigate like a pro se party, by omitting legal
     citations, making conclusory statements, forgoing affidavits and evidence in favor of ipse dixit, and failing to
     evaluate the opponent’s arguments.”)

     {236.DOCX;}                                           1              Pl.’s. for Indicative Ruling under FRCP 62.1
      Case 3:18-cv-00132-MMD-CLB Document 238 Filed 07/06/20 Page 2 of 4


     and Walker’s reply filings.
 1
     MEMORANDUM OF LAW AND POINTS AND AUTHORITIES
 2
     A. BACKGROUND
 3
     There are some serious problems with the Court’s ruling:
 4
     1) Googles results (and algorithms) are not uniform at all times as the Court simply
 5
     presumes. Google results are further tainted because “Google tailors search results
 6
     depending upon the computer used to conduct the search” Calista Enterprises Limited. v.
 7
     Tenza Trading Ltd. 43 F.Supp.3d 1099, 1120 (D. Or. 2014) ;“Google's algorithm
 8
     determines search rankings” Brignac v. Yelp Inc., Case No. 19-cv-01188-EMC, * 8 (N.D.
 9
     Cal. Jun. 5, 2019). Walker said only found the Devera complaint ”after diligent searching
10
     monthly for a year” (EFC 233-1, pg 1, ll. 15)
11
     2) “it was IHS’ practice to pay…..two or three days later or post date the paychecks”.
12
     (EFC 233-1 para 18). There was no special exception noted by Devera for anyone else,
13
     like Winters who the court has found to be a “independent salesperson” (EFC 237, pg 3
14
     line 2). In fact Devera said, EFC 233-1 ¶ 17”IHS reneged on compensation agreements”
15
     3) Instead of relying upon Rule 62.1, the Court ODDLY cites a summary judgment case
16   to say that Rule 62.1 requires evidence. (EFC 237, pg 2, ll.20-23 “the complaint in this
17   case cannot be considered as evidence at this summary judgment stage””).
18   4) The Court cites rule 60(b)(2) (EFC 237, pg 3, line 21). which motion EFC 233 was not
19   based upon. Defendants’ had claimed that the Court ducked other issues (EFC 236, pg
20   2). Now the Court ducked Rule 60(b)(1), (b)(3), or (b)(6) issues relying upon other straw
21   men.
22   B. LAW

23   Federal Rule of Civil Procedure 60(b) governs relief from orders of the district court. The
     Rule permits a district court to relieve a party from a final order or judgment on grounds
24   of: "(1) mistake, inadvertence, surprise, or excusable neglect; .; (3) fraud . . . by an
     opposing party, . . or (6) any other reason that justifies relief." Fed. R. Civ. P. 60(b). The
25   motion for reconsideration must be made within a reasonable time. Id. Rule
     60(b)(6). Harvest v. Castro, 531 F.3d 737, 749 (9th Cir. 2008).
26

27

28
     C. ARGUMENT


     {236.DOCX;}                                   2            Pl.’s. for Indicative Ruling under FRCP 62.1
      Case 3:18-cv-00132-MMD-CLB Document 238 Filed 07/06/20 Page 3 of 4


     Walker’s Rule 62.1/60(b)(1)/60(b)(3)/60(b)(6) motion (EFC 233, 236) was denied based
 1
     upon a rule he never relied upon. [60(b)(2) (EFC 237, pg 3, line 21)] The Court
 2
     presumed Google’s search results yielded Devera’s complaint a year ago – a fact not in
 3
     record and is not recognized by authority. “Google tailors search results depending upon
 4
     the computer used to conduct the search” Calista Enterprises Limited. v. Tenza Trading
 5
     Ltd. 43 F.Supp.3d 1099, 1120 (D. Or. 2014) ;“Google's algorithm determines search
 6
     rankings” Brignac v. Yelp Inc., Case No. 19-cv-01188-EMC, * 8 (N.D. Cal. Jun. 5, 2019).
 7
     Walker said only found. Next the Court found Dexter Devera’s complaint only alleged he
 8
     was paid late,. Yet, Devera said multiple workers were paid late, even those with other
 9
     compensation agreements: “it was IHS’ practice to pay…..two or three days later or post
10
     date the paychecks”. (EFC 233-1 para 18). (EFC 233-1 ¶ 17 ”IHS reneged on
11   compensation agreements”; ¶ 18 “Parsons admitted the checks bounced”; -19;
12   “Weisberg got angry for cashing his paycheck the day he received it”). The Court failed to
13   rule on Walker’s Rule 60(b)(1), (b)(3), or (b)(6) issues and authorities (EFC 233,236) and
14   failed to issue Sanctions upon Defendants for their straw man arguments (EFC 236, Div
15   V). The Court even claimed Walker was to provide evidence with his Rule 62.1 motion,
16   but cited a summary judgment case (which is governed by a completely different rule).
17   The Court should correct these "(1) mistake[s], … .; (3) fraud . . . by an opposing party,”

18   See Rule 60(b) Walker has, thus, been provided a dubious ruling on bogus facts and the

19   wrong rule.

20          At the very least, in order to prevent multiple unnecessary reversals, the court

21   should fully explain its ruling as it actually pertains to the arguments, rules, and

22   authorities cited by Walker. Blue Cross & Blue Shield of Ala. v. Unity Outpatient Surgery
     Center, Inc., 490 F.3d 718, 725 (9th Cir. 2007)(“we must remand to that court to
23
     reconsider its decision and to set forth its reasons for whatever decision it reaches, so
24
     that we can properly exercise our powers of review.”)
25

26
     D. CONCLUSION
27
     In keeping with Walker’s due process rights as a citizen, he deserves better and the
28
     Court could, respectfully, do better. The Court should reconsider/clarify


     {236.DOCX;}                                   3           Pl.’s. for Indicative Ruling under FRCP 62.1
      Case 3:18-cv-00132-MMD-CLB Document 238 Filed 07/06/20 Page 4 of 4


 1   its findings on (EFC 233).
 2
     It’s becoming apparent to multiple people that the errors are no accidents. At this time in
 3
     this country, it is especially abhorrent and will be recognized and noticed.
 4

 5

 6

 7   WHEREFORE, Walker prays for an order in his favor, accordingly.

 8   Respectfully submitted,
     By /s/Terrance Walker
 9
     Terrance Walker                                                         Dated: July 6, 2020
10                                  CERTIFICATE OF SERVICE

11   The undersigned certifies that the undersigned is over the age of 18 and that on
     July 6, 2020, that he personally served, through the court’s electronic filing
12   system, one copy of this filing to the parties listed below.
     /s/ TERRANCE WALKER
13   signed, Terrance Walker
     Copy to: Will & Kristen Geddes, Esq. P.C.           Hall Jaffe Clayton LLP
14   THE GEDDES LAW FIRM,                                Steven T. Jaffe
     1575 Delucchi Lane, Suite 206                       7425 Peak Drive
15   Reno, Nevada 89502                                  LasVegas NV 89128
     E-Mail:kristen@TheGeddesLawFirm.com                 Email: sjaffe@lawhjc.com
16   Phone: (775) 853-9455
     Fax:(775)853-6899
17

18

19

20

21

22

23

24

25

26

27

28



     {236.DOCX;}                                  4           Pl.’s. for Indicative Ruling under FRCP 62.1
